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                                                                       DATE FILED: 01/22/2024




  22-cv-3822


                             EMINIFX INVESTORS’




                            MOTION TO INTERVENE




                             Any response to the Eminifx investors' motion is due not later than
                             Friday, February 2, 2024. Any reply in support of the Eminifx
                             investors' motion is due not later than Friday, February 9, 2024.

                             The Eminifx investors are encouraged to consent to receive filings
                             in this case electronically, as set forth on the Court's website:
                             https://www.nysd.uscourts.gov/sites/default/files/2021-03/
                             Consent_Pro-Se_Eservice-Instructions.pdf.

                             The Clerk of Court is respectfully directed to mail a copy of this
                             Order to Pierre Acluche, 905 Hines Ave., Lehigh Acres, FL 33972.

                             SO ORDERED.


                                                         01/22/
                                                         01/22/2024

                             HON. VALERIE CAPRONI
                             UNITED STATES DISTRICT JUDGE
